            Case 3:23-cv-00296-KC Document 11 Filed 10/20/23 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

 BRANDON L CALLIER,                             §
                                                §
      Plaintiff,                                §
                                                §
 v.                                             §     CAUSE NO. EP-23-CV-296-KC
                                                §
 ENOVA INTERNATIONAL, INC.                      §
 d/b/a FUND MY BIZ, et al.,                     §
                                                §
      Defendants.                               §

                                             ORDER

         On this day, the Court considered Defendant Enova International, Inc. d/b/a Fund My Biz

(“Enova”) and Plaintiff’s Joint Stipulation of Voluntary Dismissal (“Stipulation”), ECF No. 10,

filed on October 19, 2023, in the above-captioned case. Plaintiff and Enova stipulate to the

dismissal without prejudice of all claims against Enova, conditioned on the Court’s approval of

Plaintiff’s request to file an amended complaint, substituting other parties as Defendants. Stip.

¶ 2. The Court has granted leave to amend. Oct. 20, 2023, Text Order. Thus, in accordance

with Rule 41(a) of the Federal Rules of Civil Procedure, the Court ORDERS that Plaintiff’s

claims against Enova are DISMISSED without prejudice.

         SO ORDERED.

         SIGNED this 20th day of October, 2023.




                                      KATHLEEN CARDONE
                                      UNITED STATES DISTRICT JUDGE
